 

Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 1 of 35

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 2 of 35

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 3 of 35

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 4 of 35

 
 
 
 

C-5149-14-H
Frank Lam & Associates, Inc.
~- " Consulting Engineers Regisrration No: F-2545

Report
Date: October 18, 2010

To: Mr. Eli Ochoa, P. E.
ERO Architeets

Re: Structural Investigation of
Pa;rtial Collapec ofthe Main `Buildlng
PJSA lSD T-Stem Early College High Sc_hool
714 E. U.S. Highway 83', Pharr, Texas
FLA 2010.47

 

Introduction:

At your request, we performed two field trips to the above referenced project The first
one was performed on 9-22-2010 and the second one Was performed on 10-8_-2010. The
purpose of the field trips was to observe the condition of the partially collapsed building
and to gather data l`or an engineering repert. The second field trip also involved a
meeting With the representatives from the School, ERO Architects, and the Contractor.
At the meeting, Frank Lam & Associates was requested by the Schooi. to prepare an
engineering report to document the findings oftbe observation and investigation

Documents reviewed:
Demolition Drawings and Notes prepared by ERO Architect`s dated 2-2-4 l\'). _ -~-

 

Descriptions of original structures:
The school buildings are consisted of the Main Builcling in the middle, the East and West
Wings, and the East and West `L in irs which are connected to the Main Building and the
two Wings. The Main Building has a baselnent, first floor near ground level, and second
floor and is constructed of reinforced concrete siab and beams and columns and exterior
load bearing masonry walis. The two wings and the links have a first floor at ground
level and a second tloor and are constructed of reinforced concrete slab and beams and
columns. See plans on attached drawings SDl to SDB. The area that the collapse
occurred is~at the West side of the Main Building. The concrete slab and beams at the
second floor and the roof are partially supported by masonry columns at the building
corners and at the entrance corridor and partially supported by exterior load bearing
masonry wall which is constructed ot` brick veneer and clay tiles. 'I`here are two large
openings in the masonry wait and the concrete beams would act as heeders across the

. ...openings.- The opening..at the south side Was later.filled with unreinferced concrete
masonry units. The later addition ot` the Wings and the Linlcs attached to the Main
Building without an expansion joint. The Links are supported by cast in place concrete

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 5 of 35

C-5149-14-H

columns and beams poured against and plastered around the existing masonry columns.
The masonry columns arc part of the load bearing Walls supporting the floor and roof of
the Main Building. See wall section on attached drawing SD4.

Portion of the proposed demolition involves the removal of the Link structure between
the Wings and the Main Building. These include the concrete slab of the second floor
and the roof, concrete columns against the Wing and the Main .Building, and the two
levels of tie beams between the columns. The limit of demolition stops at the face of the
exterior Walls of the Main Buildi`ng and the Wings.

Site Observation:

West Side of Main Building:

The West Link structure was almost completely demolished except the concrete columns
and tie beams attached to the Main Building. See Photos 18, 1'9, and 20. In general, the
masonry walls of the Main Building appear to be in satisfactory condition except at the
two hollow masonry columns located at the stain The masonry columns are sitting on
top of concrete columns which are terminated near the floor level, Structural cracks are
observed above the concrete columns. See Photos 21 and 22. These cracks and the
hollow masonry columns must be addressed prior to future work on the building

E`ast side of Main Building:

The East Link structure was completely demolished with the exception of some rcbar
spanning between the buildings During the demolition of the linlc, an approximately 12
ft by 60 ft long section of the west side of Main Building was also damaged and
collapsed. See plans on drawings SD2 and SD3 and Photes l to l?. "l"hc collapsed
members include the concrete beams and slab at the second floor and roof, load bearing
clay tile and brick veneer walis, exterior masonry columns, and concrete masonry unit
infill at the wall opening Part ofthe second floor and roof slab is still hanging by the
reba.r and the two wing walls at the north and south ofthe building are still remaining but
have suffered severe damages and separation The floor and roof beams had rotated and
pulled out from the masonry walls, leaving a pocket in the Walls. See Photos 2, 11, and
17. lt appears that the collapse stops at the first interior beam along Grid 15. See plans
on drawing SD2 and SD3.

Probable cause of collapse and sequence of events:

lt is evident that the collapse of the second floor and roof slab and beams are result of
structural failure of the columns and load bearing walls. The-initial cause cf failure ofthe
vertical members is not as apparent and could be a combination.of several factors. The
sequence of events starts with the north concrete column supporting the East Link
structure being forced to displace outward during the process o't`dernolition. The lack of
expansion joint between this concrete column and the masonry column supporting the
Main Building allowed the two columns to bond together. The outward movement of the
concrete column creates a lateral force on the masonry column. The hollow and
unreinforced masonry column is subjected to axial and lateral force and does not take
long to buckle and collapse. With the collapse of the first masonry column, the adjacent
clay tile and brick wall panel starts to fail and move outward because there is no
connection between the wall and the slab. As a result of the failure of the columns and

Page 2 of 4
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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 6 of 35

C-5149-14-H

wall, the slab and concrete beams above are lo_osing support and start to deflect and
rotate. At the same time, the weight of the slab and wall above starts to shift to the other
masonry column and overloads the column and wall panel. When the beams loose the
center supports, the slab starts to deflect downward under its own weight and suffers both
shear and flex`ural failures When the second floor beam and slab fails the load bearing
wall supporting the roof structure starts to fall, causing failure in the roof slab similar to
the floor slab. The structiu‘e finally reaches equilibrium when the slab collapsed and
detached from the end walls and the beam pulls out from the masonry pockets.

The origin of the force that starts the failure of the north masonry column is related to the
demolition means and methods lt could be excessive force from the high impact
shipping hammer working on the concrete frame. As mentioned previously, the collapse
of the structure is probably due to a combination of several factors: Contractor’s means
and methods during the demolition and lack of protection of the existing structure, issues
related to the original design and construction, and pre-existing conditions. The building
was designed primarily as concrete frame structure except clay tile wall was designed as
load bearing wall to support the concrete slab and beams at the exterior of the building
Individual columns supporting the exterior concrete beams are made of clay tiles or
bricks, forming a box shape vertical structure. There is no concrete or reinforcing inside
the columns and there is no connection between the concrete beams and the clay tile
columns other than a beam pocket. As a result of the lack of retrain at the top of the
column any significant lateral force acting on the column will destabilize the column.
The construction method of the concrete colunms supporting the Links also contributes to
the failure of the building The new concrete columns were cast against the existing
masonry Walls and columns without expansion joint and the columns were plastered
together and creating a bond between them. This condition does not allow the columns to
move independently and allows force transfer between them; and as a result, impact from
the chippi'ng hammer hitting the concrete column in the Link could have created distress
in the masonry column in the Main 'Building. Another factor that contributes to the
collapse of the structure is the preexisting conditions of the clay tile walls and masonry
columns. P.re-existing conditions include cracks and spallings in the clay tiles and
masonry which would have weakened the structure and reduced the load carrying

capacity.

In oonclusion, it is our opinion that the collapse of the structure is caused by demolition
means and methods, and to a lesser degree the pre-existing conditions and the design and
construction of the original buildings

Recommendations for repair:

East of the Main Building:

We recommend that the partially collapsed slab be removed to the face of the beams at
the first interior grid line 15. See plan on drawing SDZ. The remaining clay tile and
masonry walls at the north and south of the building shall be removed to the west of grid
15. New steel structure shall be installed to replace the collapsed slab. Install concrete
masonry unit (CMU) wall to the inside of existing wall along grid line A and grid line H
and between grid lines 13 and 15 and turn the corners to the masonry columns at B-13

Page 3 of 4
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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 7 of 35

C-5149-14-H

and G-13;

West Of the Main Building:

Prior to further demolition, the existing load bearing walls shall be strengthened We
recommend the installation `of CMU walls similar to the east side CMU walls shall be
installed along the exterior wall at grid line 5 and turn the corners to grid line 8 along
grids A and H. The wall shall terminate at masonry columns B~8 and G-S.

%@.LAM

Frank S. Lam, P. E.
Frank Lam & Assooiates, [nc.

   

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Attachments: Drawings SDl to SD4 in llxl7
Photos sheets Al to A6.

Page 4 of 4
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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 8 of 35

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 9 of 35

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 10 of 35

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 11 of 35

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 12 of 35

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 13 of 35

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 14 of 35

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 15 of 35

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 16 of 35

ATTACHMENT A- PHOTOS

 

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 17 of 35

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ATTACHMENT A- PHOTOS

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 18 of 35

C-5149-14-H

1 1}

Ofnce of the Supen'ntendent of Schools December 8, l2010
Board Meeting of January 17, 2011

Offlce of Support Servlces
Rene Campos, As`slstant Supel'lntendenlj

SUBJECT: CHANGE ORDER #1 - (T-STEM) EARL‘( COLLEGE HIGH SCHOOL

lVlr_. Ell Ochoa, Archltect w|th ERO Archltects' recommends approval of change order #1
for Early Col|e|e ngh Schoo| for an increase of $522,726_._00. The change order le as

follows:

$8,087,000.00 Original Contract
Change Order #1-To remove and bulll Eaet and West

$522!726.00 slde walls at the Ear|y Col|ege ngh School.
$8.609,726.00 New contract amount

lt ls recommended that the Board of Truetees approve Change Order #1 for T-STEM
)rly College l-llgh Schoo| for an lncrease of $522,726.00.

TH|S ITEM DOES NOT ESTABL|§H, MOD|FY, OR DELETE BOARD POLlCY OR
ADMIN|STRAT|VE PROCEDURE.

RECOMMENDED: That the Board of Educatlon approve Change Order #1 for (T-
STEM) Early College High School for an increase of $522,726.00,

effective January 18, 2011.

“’ A

 

Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 19 of 35

C-5149-14-H

lMJAILA Document 6701TM - 2001

Change Order

 

PROJECT (Name and address): CHANGE ORDER NUMBER: OUlR OWNERZ _-
Pharr~San Juan-Aiumo lndependent DATE: January 17, 2011 .
School District - Eariy College l~Iigh ARCH|TECT` g
Schcol CONTRACTORZ
ro coNrRAcr_on (Na,»e and address).~ ARcl-lnecr's PRoJEcr NuMBE R: 09007 F'E"D: m
rem Des¢on, L.P,, by macon 4s, comch DATE: May 4, 2010 0THER1 l:|
L'L'C' _ CONTRACT FOR: General Construction

lt's General Partner

P,O; Box 3547

McAllen, Tcxas 78502-3547

 

Ti'iE CONTRACT l$ CHANGED AS FOLLOWS:

(lnclrrde. where applicable any undisputed amaml.' atrr£buraf)le 111 previeu.rify execu!cd Crmrlrm:rr'rm Chrmge Dr'recrives,l
Chonge Order issued to change Scepe ol'Work as indicated in Phase l l`{enovariens and Additinns to liar|y College High School
lever seal in by Tcxas Descon on Deccmber 21, 201 il.

'I`otal Amount $522,726.00

The original Contract Sum was l _B,DB?\ODO.DU

$
The net change by previously authorized Change Ol'clers $ .- U.Dll
The Com.ract Sum prior to thin Change Order was 5 8,087,000.00
The Contract Sum will be increased by thin C]'iangc Order in the amount of $ 522 726.(1|]
S

The new Contract Sum including this Charige Order will be

The Contraet Tirne will be increased by thirty (3{1) days.
The date of Subsmntlai Cemplulion as of the dale of this Change Order therefore is .lune 27, 2011.

n Blé{l§l'i‘Eé.D[}

NC|TE: 'This Change Order does not include changes in thc C‘ontract Sum, Contrael Time er Gurlnintecd Muximum l’rice which have
been authorized by Censtmclion C;'imnge Dircclive until the coal and lime have been agreed upon by belli the Owrie~r and
Cun!raetor, in which case a Changc Ordr-r is executed 10 supersede the Construction Change Directivo..

NOT VAL|D UNT|L SlGNED BY THE ARCH|TECT, CONTRACTOR AND OWNER.

      

 

 

 

 

 

 

 

 

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School District .

ARCHlTEUT {FTrm name) UWNE_R (Ffrm name)
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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 20 of 35

    
 
  

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 21 of 35

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 22 of 35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C-5149-14-H

TEXAS DESC°N L»P' ` PROJE~CT __ __ _r:§§§_l§.'_>_I__S;E_m_§A_Fz_L_Y_§<z!»_l-_E_@E____
MCALLEN TEKAS ____ __ ______ _ __ . _ . _

.._.. _ _. _ n l_ ..,. _...¢u` ,,r...._. __ UHH,\C.°HT .-»n .\‘_*_... .. .:.'.' , _ ' "" ~':*-'_'..'..-"\¢A_'.

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SCOPE 1: n _ -. _
vQ£Z‘|..LJLM=*SED WALL MATERIAL REMOVAL __ -

C|ean up debris - Labo`r

10M x BH x 100 600 HR 15 12.000

Saw cut large concrete places - .
12x8x=96|fx6=5761.1x2 1152 LF 125 - » 1.440
Misca|laneous Too\s 1 L-S 3500 - 3.500 ~
Haul off debris ma\er\a| 40 LDS 280 - - 11,200
Debris Load|ng ..

1M x 8H x 100 ~ Labor |oadln_g,trucks 60 HR 15 1,200 » -
Equ|pment

Eoom L|ft 2 WKS 2800 - ' 5.500
Backhoe 2 WKS 7_50 - 1.500
Crane Renta| 24 HR 450 - - 10.800
_S__C_Q_P£J__A__________ ________ -

Conorato lor floors l Roof

1410 SF x .25T 127 27 CY 70 - 1.890 v
Labor 101 concrete 1410 SF 2 - 2.820
Ralnforc|ng Materia| 1 'l'ON 425 280 l 425 280
Mlsce|laneous Maler|al 1 LS 260 - 250 -
Concrale Pump 2 `R|PS 1800 - ~ 3.600
Slee| Jo|st for 2nd F|oor 31 Roof 1410 SF-' 16 4 - 22.560 5,640
Metal Deck 1410 SF-' 2 5 1 ‘ 3,525 1.410
TOTAL ` _l n islqu _-§_'¢z:j§u._ -14,:19`0

Sh°€f N°- ............. '1°"\= _______ _ _ ___ _,____ _ _ _________

69.640

 

SCOPE 2

NORTH SIDE

Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 23 of 35

REMGYE EXIST BRICK WALLS

NEW CMU`HBLLS

SCOPE ZA

SCOPE ZB

     

 

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SOUTH SIDE

 

 

 

Case 7:15-cv-OO465

Document 1-15 Filed in TXSD on 11/06/15 Page 24 of 35

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

C-5149-14-H
TEXAS DESCON L..P. PROJECT: \_r»j`sJA ler T sTEm EARLY coL,LEGE
chL_g.EN TExAs ____ _ __ ` '
’ “' “`;"_`T`_l`_",_`.`_`."ul@j?§?'?:_'_`“ ` * f ' `
_§_._ F..E."ME____:EE§_E_E_§§,L'?" ' ?£§N_T',TY_I.-!!*"T_[ L _ F '“ _ ____ __. _,___.,‘;"*._,_§F_;'!§,_. '\“M_EB__'_§\_':_ ~WB
P|pe Shor|ng Scaffo|dlng Rontal ,
705 SF l Floor z 2115 SF 2 MO 3250 131550 0,5‘»00 » 27, 700
SCOPE 2 A - BRICK REN|O_}{AL _
Existlng Br|uk removal & salvage
24 l.F x 42 H x 7.5 = 7,560 Brlcks 1008 SF 0 0,064
Ex|etlng Structural C|ay Brlck removal
Demo Struclura| clay brick 1008 SF 1 1003
Equlp for Br|ck & Clay Un|t Walls Remov_a|
Boom L|f! WKS 1400 2,000
Backhoe WKS 375 750
Scaffo|dlng Exterlor & 1nterlor 1 LS 1250 '\ .250
Haul off debr|s material .
Truck loads 25 EA 200 7.000
Equ|pmem Loader 25 EA 100 2,500
_§.Q_QP§?_;B_:_V_\/_&!:!:_B_§§PJ!_-_D
CMU Wal|s 1 Ra\nforced _
B" CMU x 120 LF x 37 H = 4.440 SF 5000 EA 0 5 32,500
12"CMU><120 LF)<1OH¢1.200 SF 1350 EA 75 - 10.125
CMU Concrete Reinforcemenl 24 C¥ 72 1,720
CMU Stee| Re|nforoemem 1 LS 4500 4,500
Core holes |n Conc 1100r for CMU Re|n!.
120 LF l 2 w 60 Cores l nom x 3 180 EA 15 50 2.'?00 9.000
Prepare Bese 01 Brick @ E)<ter|or Wainscot 120 LF 15 10 20 1.800 1,200 2.400
Prepare Base 01 Wa|| @ lnierior for CMU 120 LF 5 0 000 960
Br|ck lnsta|latlon
24 LF x 42 H >< 715 = 8000 Bric|<s 8 E_A 600 4.800
Bn'ck Acoessories 1 LS 750 750
C|ean|ng 01 brick 1 LS 1000 1.000
Stee| Concrete llntels 400 LF 2 5 800 2,000
Damp proofan exterior walls
Damp proof|ng 24 LF x 42 H 1008 SF 0 75 1.5 756 '| .512
Base & Sl|l F|ashing 24 LF 24 LF 2 3 48 72
Rigid lnsulalion 1008 SF 0 25 1 252 1.000
Rough Carpen!ry 0
Rough Carpenlry @ Windows & Coplng 520 LF 1 1_5 520 780
Bui|dera Hardware ""i LS 750 1 750
Equ|pmanl For Brlck 3- CMU Walls
Boom L|ft 2 WKS 1400 2.000
Backhoe 2 WKS 375 - - 750
l§§_~§|_=_~,_._mmm_=_.__..._._._._._._._.,.____ ____._._.__-_,.____ _ ” _ _ _ _____]l __1_\-_2?6 IL_____ 12.?10 ll 119,591
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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 25 of 35

 

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 26 of 35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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FEXAS DESCON L~P' Pr~<w¢€<>‘rl _ _law'_S_D_r§_:§_v__§_ezfzz,!§_f_>l-_L_E§§.______
MC~ALLF~N TE¥.‘.*.S ____ __ __ _ __ _

1 . . .. _________,_Tf _________ _______ .
__ _____ __q§._s_cmp'riora __ _ __q_l_l__;;rg'nrv mar L__ 1 M _ ]____________§_T____ __ _ _ .;,~;ru;n M§_.\:'g__r_;l__;§¢__ 3.="',~;
§COP§§_=._____M__ __ .__
Plpa Shorlng Scafloidlng Renlal
1410 SF l F|oor = 2115 SF 2 MO 3250 13850 6,500 27.700
SCOPE 3 A - BRICK REMOVAL - EAST
Exisl|ng Brlcil removal & salvage
40 LF x 42 H 11 715 = 12.800 Brlc|<s 1680 SF 8 - 13.440
Exlsting Struclura| C|ay Brlck removal 4
Demo Slruclurai clay brick 1680 SF 2 ~ 3,360
F.quip for Brlck 81 Clay Unlt Walls Removal
Boom Lift V\/KS 1400 2.800
Bacl<hoa 2 WKS 375 750
Scaflolding Exlerior &_ interior 1 LS 1250 1,250
Hau| 011 debrls material
Truck loads 10 EA 280 1.>..600
Equipmenl Loader 10 EA 100 1,000
scoPE q_A - BRch RE__rlr_l_Q_\_/AL - wear ».
E)<istlng Br|cil removal 8 salvage --
140 LF x 42 H x 7.5 - 44.100 Brioks 5680 Sl`-' B 47.040
Ex|sllng St`ructural Clay Brlck removal
Darno Struclurai clay brick 5880 SF 1 5_850
Equip for Brlck & Clay Unll Wa|ls Ramova| ~
Boom Lih WKS 1400 2,000
Bacl<hoe WKS 375 750
Scaffo|dlng Exlarior & lnlerior .1 LS 1250 ' 1,2150
Haul off debris material '
Truck loads 10 EA 280 2,800
Equ|pmanl Loader 10 EA 100 1,000
TOTAL ____ _ ______ ll rs._jsoo___l_| ___|L 1111.@29__

 

 

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 27 of 35

TEXAS DESCON L.P.

 

C-5149-14-H

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MGALLEN TEXAS

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SCOPE 3 B - WALL REBUILD - EAST l WEST -

CMU Wa||e » Raln!orced

8" CMU x 230 LF x 37 H \= 8,510 SF 9600 EA 6 5 62,400

12" CMU x 230 LF x 10 H = 2.300 Si~‘ 2600 EA 7;5 19,500

CMU Conorete Relnforcemenl 112 CY 72 1024

CMU Slael Relnforcemenl 1 LS 7500 7,600

Cora holes ln Conc floor tor CMU Ralni. ~

230 LF l 2 '~' 115 Cores I floor x 3 345 EA 15 50 .‘)`,175 17.250

Prepera Base of Br`mi< @ Exterlor Walnscc)l 230 rLF 15 10 20 3.450 2,300 4.600

Prapare Baee of Wal| @ interior for CMU 230 LF 5 0 1,150 1.040

Brlck installation ~

180 LF x 42 H x 7,6 - 56.700 Brioi<s 57 EA 600 34-,200

Brlck Accassoriaa 1 LS 6800 6.000

C|eanlng of brick 1 LS 4000 ¢ 4,000

Sieel Concrele llniels 1800 LF 2 5 3,200 8,000

Damp proofing_ exterior walls ~ -

Damp proofing 230 LF x 42 H 9660 SF 0.75 1.6 7,245 14,400 -

Base & S|li Fiashlng 230 LF 230 LF 2 ll 460 690

R|g|cl insulation 9660 SF 0 25 1 2,415 9‘000

Flough Carpentry

Rough Carpenlry @ W|ndows & Coping 2080 LF 1 1_.5 2.060 '3.120

Bullders Hardware 1 LS 2550 2.550

Equlpmen! For Brlck & CMU Wa|ia

Boom Lift 2 WKS 1400 2.000

Backhoe 2 WKS 375 - 750

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Case 7:15-cv-OO465

TEXAS DESCON L.P.
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Document 1-15 Filed in TXSD on 11/06/15 Page 28 of 35

C-5149-14-H

PROJECT;

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GUANTITY

UNIT

UNlT COST

 

 

 

MATER|AL

 

 

 

LABOR

 

 

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CRED|T FOR GYP. BD. WALLS
BASEMENT

weir type - 7, ss L.F. x 9'

4" Metel Slud wall wl two layers 5/8"
type x High lmpaci GWB on one side

Weli type - 8. 117 h.F. X 9'

2 1l2" il/|elal Stud well wl one layer 5/8"
type x High impact GWB on one side wl
1" airspace wl 2" ngld insulation Board

Wall type -10. 23 L.F. X 9‘

4“ Meta| stud wall wl one layer 5/8"

type x High impact GWB on one side w/
1" airspace wl 2" Rigid insulation Board

FlRBT FLOp__R_ __…
Well type~ ~5. 134 L.F. X 9'

4" Meta| stud wall wl one layer 5/8"

type x ngh impact GWB on one side wl

495

1593

207

1206

1" air space wl 2" ngld ins Bd On Exlst Wall

Wal| type - 7, 55 L.F. X 9'
4" Nieta| Stud wall wl two layers 5/6"
type x ngh impact GWB on one side

wall type -10. as L.F. x 9'

4" Melel stud wall wl one layer 5lB"

type x ngh impact GWB on one side wl
1" air space wl 2" ngld insulation Boerd

SECDND FLOOR
Wail type - 5.
4" Melal stud wall wl one layer 5/8"
type x ngh impact GWB on one side wl

156 L..F. X 9'

495

342

1404

1" alr Space WI 2" R|gld |ns. Bd, On Exl$i Wa||

Wali type ~' T, 12 L.F. )i 9‘
4" Metal Slud wall wl two layers 5/8"
type x ngh impact GWB on one side

Wall type - 10. 57 L.F. X 9‘

4" Mela| bind wall wl one layer 5/8"

iype r< High impact GWB on o`ne side wl
1*'hli s_r_p§rw.wl 2" Rigld_ |neu|§_i|on Board

108

SF

SF

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SF

SF

SF

BF

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TOTAL _ _l w l

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Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 29 of 35

C-5149-14-H

 

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VIEW B

 

Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 30 of 35

 

 

Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 31 of 35

C-5149-14-H

Braciford Russell, AlA, P.E.
Archltect/ Structural Englneer/ LEED AP

Dlrector of Arch|tecture l Englneering
BR Archltects, lnc. - Archltects & Structura| Engineers

2007 N. Collins Blvd., Suite 507
Rlchardson, Texas 75080

Dlrect §9?2) 235-9308
Fax 1972) 235~9380

 

Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 32 of 35

C-5149-14-H

PROPERTY COND|T|ON REPORT

Marnorial Mldcl|e School

Pharr-San Juan-Al`amo independent Schoo| Dlstrict
714 E. U-.S. Hi`ghway 83

P.harr, Texas 78577

Terracon Pi'o]ect No. 92088503

Prepar-ed For:

Prepared For:

E_RO lnternation'al, _LLP

~4401 Westgate Boulevar_d, Suite 330
Aust-in, Texas 787'45

 

Pre__pared By:

 

February 22, 2008

 

Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 33 of 35

C-5149-14-H

February 22, 2008

`l;l'erracon

Consulting En_glnee_rs lt Scianti¢tc
1 1565 clay mac

chston, Texas 77043

T: (713) 600»8989

F: (713) 690-0787

wleri§<~.or},ggn

M__r~; _Jesus V. Delg_adc, AiA

EFiO l_nternationai, LLP

4401 Weetga'te Bouiev_erd, Suite 330
Ausiin. Texee 78745

Phone: (512)_358-0100

Fex: 15123 353-0103
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Fte-z.-'-. PROPERTY COND|_TION ASSESSM_ENT
Memorial Mldd|e School
714 E. U.S. Highway 03 _ ‘_
Pharr-San Jue_n‘A|_amo independent Schoo| District
i-_?ha`rr. Texas 78577
Terrecon Project No. 92088503

Mr. Delgado.

Terracon is pleased to provide this Property C_on`diiion Asseesmeni cl the subject improvements. This
work wes performed in general accordance with the authorized scope oi services as identified in the
scope section oi~.this Fieport.

We appreciate the opportunity jto provide professional engineering services to you. if you have any

questions concerning this Fieport, or if we can assist you in any other metter. please call our office et the
above referenced phone number.

Sincsreiy,

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_Proieot Ma_n'e_g_er Proiect l_Vlanager

Faci|ities Services Facilit|`e_s Services

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Atte‘ohecl: Property Conditlon Assessmen!_
Distribution`:` 3 copies to addresses

 

Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 34 of 35

fProperty'Condltion Asaaesment-Terracon P%I§'Q §§ir,[r€'r"|§§otisso:i
Meri‘lorla| Midd|e Schoo| - Pharr, Texas lu'e"acnn
February 22, 200_8

'_I'ABLE OF CONTENTS

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l. E)<ECUTiVE SUMMARY_._._..._`,.,.._,..,...,,,,.,_,,,..,,..,_...._._..,_.._..._..,._._._,..__....................... .
A Generai Property identification Sumrnary-.-;
Ei Estimated Recommended E)tpenditures..‘-...--
C Estimated Repail" CostTable . ..
D. Generai Deseript|on_....
E. Recent Signiiicant_ Capit_ai improvements
F General Phyelcei Conditlon... .
Furniture, Fixturee and Equipment.... ....i.r.',-.,t_._»;_.-.
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Foliow-up Re__oc_rmmendations ...................... i..--..
Purpose...
K. Scope...
L. Personnel interviewed
Nl-. Documenlatlon. ..-i. .-.--.-r..' ..__.-...
roper'iy Descrlption end Deecription

Slte improvements .-. _.-;=

   

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Buliding Exterior... -..--t» t .
Roof... ....t
lnteriora.,:: .-.rr- .t. ....,-. t. itt .n.-;-.--.- ..

A.

B.

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D. -.
E. Machan|cai Electrlcal and Plumb|np Syetem_e_.___ .-,. -,.i
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Fire Proteotion and Life Safety Syet'ems...
Compliance with Code and Reguletlons

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B. Condltion Evaluation Definltlone
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Appen_c_i_lx A- Exhibite (FEMA Flood P|ain De`terrnlnetlon)
Appe'ndix B- Photographlo Documentation

 

 

Case 7:15-cv-OO465 Document 1-15 Filed in TXSD on 11/06/15 Page 35 of 35

property Condition Report-Terrecon C'5149'14'H

Me`morlel Middie School
Terracon Proiect # 92088503 Terracon
February 22, 2008

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A. General Froperty identification Summary

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1918. rero. ratio
` 1976,_198_6

"The buildin'ee‘h'ave wood rremrng"o'r trees framing n'i'aserirtr bearing werls, ram brick
veneer, or CMU_ infll|; metal frame wln'dow`s_, wood and metal doore; composition
§§Me, BUR, or modified bitume_n roofinyete_p§er and DX HVAC§__y`__'_t_i_ii_;_L_ri;.§__ __
]enuery 'r',_ 2008 "' '

 

 

 

 

 

 

 

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